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                         UNITED STATES DISTRICT COURT

                             DISTRICT OF MINNESOTA


 Lamar Ferguson,                                Case No. 17-cv-01110 (PJS/TNL)

                     Plaintiff,

 vs.                                            STIPULATION FOR DISMISSAL
                                                WITH PREJUDICE
 Robert Thunder, in his individual
 capacity, Tou Thao, in his individual
 capacity, and the City of Minneapolis,

                     Defendants.

       The parties, by and through their undersigned counsel, stipulate that all claims

shall be dismissed with prejudice and without costs to either party.

 Dated: February 20, 2018                  Dated: February 20, 2018
                                           SUSAN L. SEGAL
                                           City Attorney
                                           By: /s/Ivan Ludmer

 By /s/Seth Leventhal                      ________________
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